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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

HAMETT DIAZ,                                          No. 4:20-CV-01667

                  Petitioner,                         (Judge Brann)

         v.

DEREK OBERLANDER,
Superintendent,

                  Respondent.

                                          ORDER

       AND NOW, this 18th day of September 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

  1.          Petitioner’s motion (Doc. 7) to stay the above captioned petition for writ
              of habeas corpus is GRANTED.

  2.          Adjudication of Diaz’ federal habeas corpus petition is STAYED.

  3.          Within thirty (30) days of the termination of Petitioner’s attempt to
              obtain state court review of his pending unexhausted claims, he is
              directed to file a written notification with this Court.

  4.          For administrative purposes only, the Clerk of Court is directed to mark
              this matter CLOSED.

  5.          Petitioner’s motion for copies (Doc. 8) is GRANTED. The Clerk of
              Court shall notify Petitioner as to the cost of the requested copies.

                                                  BY THE COURT:


                                                  s/ Matthew W. Brann
                                                  Matthew W. Brann
                                                  United States District Judge
